Case 2:20-cv-00520-FLA-KS Document 87 Filed 05/25/23 Page 1 of 1 Page ID #:718

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:


 THE ESTATE OF ALEXANDRE TOULOUDJIAN,                               2:20−cv−00520−FLA−KS
 et al.
                                                  Plaintiff(s),

          v.
 CALIFORNIA DEPARTMENT OF
 CORRECTIONS AND REHABILITATION, et al.                             NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).
                                                                    ELECTRONICALLY FILED DOCUMENT




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your filed document:

 Date Filed:         5/24/2023
 Document No.:             85−1
 Title of Document:             RE ONLY the proposed order
 ERROR(S) WITH DOCUMENT:

 Local Rule 11−3.8 title page is missing, incomplete, or incorrect.

 Proposed Order is Missing Formal title page.




 Other:

 Note:    In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
          document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in
          response to this notice unless and until the Court directs you to do so.


                                                 Clerk, U.S. District Court

 Dated: May 25, 2023                             By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                    Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.



  G−112A(08/22) NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
